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             UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF NEW YORK
             -------------------------------X

             UNITED STATES OF AMERICA,                                    MEMORANDUM
                                                                          and ORDER
                                    Plaintiff,

                     - against -                                          04-CR-774 (TCP)

             ASTRA MOTOR CARS, et al.,

                                    Defendants.

             -------------------------------X
             PLATT, District Judge

                             In light of the discovery conference held January 3, 2006, this

             Court orders the following: (i) On or before February 6, 2006 the Government

             must either return all original documents seized from Defendants or make a copy

             of all such documents and produce the copies to Defendants; and (ii) On or before

             February 13, 2006 the Government must furnish counsel for the ten (10)

             individual Defendants with a list of witnesses the Government will attempt to call

             in its direct case.



             SO ORDERED.


                                                   /S/__________________
                                                   Thomas C. Platt, U.S.D.J.

             Dated: Central Islip, New York
             January 3, 2006
